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                    EXHIBIT B – NOTICE
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           EASTERN GATEWAY
           COMMUNITY COLLEGE
                                                                               MlCHAH GEOGHEGAN, PRESIDENT
                                                                               110 John Scott Highway
                                                                               Steubenville, OH 43952
                                                                               United States
                                                                                                        mgeoghegan@egcc.edu
                                                                                                        (740) 264 - 5591 ext. 1729




  May 10, 2022

  Avathon Capital
  Student Resource Center
  401 N. Michigan Avenue, #3300
  Chicago, IL 60611

  VIA CERTIFIED MAIL

  RE:      Written Notice of Material Breach and Intention to Te1minate the Collaboration Agreement, dated June 30, 2017,
  as amended by that certain Amendment No. 1 to Collaboration Agreement, dated October 2019, as fmther amended by that
  ce1t ain Amendment No. 2 to Collaboration Agreement, dated Februruy 1, 2021 (collectively, the "Agreement") by and
  between Eastern Gateway Community College ("EGCC") and Student Resource Center, LLC ("SRC" and, with EGCC,
  each a "Party" and collectively, the "Prut ies").

  Deru· Ms. Vernick and Mr. Keith:

          This letter shall constitute Eastern Gateway Community College's ("EGCC") wdtten notice to Student Resource
  Center, LLC ("SRC") stating that SRC is in material breach of the Agreement. As desc1ibed below, SRC has fundamentally
  changed the nature of the Collaboration without proper notice and consultation with EGCC resulting in a material breach
  of the Agreement.




           As you ru·e awru·e, SRC has made a number of unilateral decisions regru·ding its executive management team. In
  pruticular, SRC te1minated Michael Pe1ik. -                                                      led to the te1mination of
  other leadership team members each of whom resigned from their management positions with SRC due to Michael Perik's
  te1mination. All of these individuals were prut of the SRC management team that was deeply familiar with the te1ms of the
  Agreement and the Collaboration's operation and growth.
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           EASTERN GATEWAY
           COMMUNITY COLLEGE
                                                                                 MlCHAH GEOGHEGAN, PRESIDENT
                                                                                 110 John Scott Highway
                                                                                 Steubenville, OH 43952
                                                                                 United States
                                                                                                          mgeoghegan@egcc.edu
                                                                                                          (740) 264 - 5591 ext. 1729




           By terminating Michael Perik which led to the departure of other leadership team members,




          However, SRC unilaterally removed these individuals - individuals whom EGCC specifically relied on - and placed
  the operation of the Collaboration into the hands of Phillip W. Braithwaite, an executive with substantially less experience
  in the community college industry.


          Fmther, the appointment of Mr. Braithwaite could reasonably be expected to cause reputational harm to the
  Collaboration given the previous CEO 's experience with EGCC and this program. Mr. Braithwaite's appointment puts the
  Collaboration into a worse position than the Collaboration was in prior to the termination of Michael Perik and the departure
  of others. External part ners of the Collaboration have already voiced concern to EGCC regarding SRC's new management
  team's focus on for-profit education rather than community college education, the new management team's lack of
  experience and ability in serv icing high quality online comses and programs, and the new management team's lack of
  connection to groups with adult learners.




           If you should have any questions or comments, please have yom counsel contact Attorney Victoria Fenise directly
  at vlfenise@bmdlk.com



  Sincerely,




  Michael Geoghegan, President
  Eastern Gateway Community College
